8:03-cr-00243-LSC-FG3       Doc # 100     Filed: 06/06/05     Page 1 of 1 - Page ID # 378




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:03CR243
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
STACY A. GRANT,                              )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion to supplement the Clerk’s

record designated to the Eighth Circuit Court of Appeals (Filing No. 98).

      The Defendant asks that the record be supplemented with the sealed Statement of

Reasons (Filing No. 90).

      IT IS ORDERED:

      1.     The Defendant’s motion to supplement the Clerk’s record designated to the

             Eighth Circuit Court of Appeals (Filing No. 98) is granted; and

      2.     The Clerk is directed to supplement the record with the sealed Statement of

             Reasons (Filing No. 90).

      DATED this 6th day of June, 2005.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
